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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
Robert Bruce, Bryan Slaton, Grayson County §
Conservatives PAC                             §   CIVIL NO:
                                              §   AU:22-CV-01166-RP
vs.                                           §
                                              §
J.R. Johnson, Mary K.(Katie) Kennedy,
Randall H. Erben, Chad M. Craycraft, Chris
Flood, Patrick W. Mizell, Richard S. Schmidt,
Joseph O. Slovacek, Steven D. Wolens

 ORDER CANCELLING PRELIMINARY INJUNCTION HEARING
       IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for PRELIMINARY INJUNCTION HEARING on Tuesday, December 06, 2022 at 02:00
PM is hereby CANCELLED until further order of the court.

        IT IS SO ORDERED this 5th day of December, 2022.




                                             ______________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
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